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Name and address:

Rajan O. Dhungana (SBN: 297794)
FEDERAL PRACTICE GROUP
1750 K Street, N.W., Suite 900
Washington, D.C. 20006

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JOSEPH DIAZ, JR., CASE NUMBER
Plaintiff(s), 5:20-cv-02332 JWH (KKx)
v.
RALPH HEREDIA; JOHN DOE, ESQ.; and JANE DOES 1 APPLICATION OF NON-RESIDENT ATTORNEY
through 20, inclusive, TO APPEAR IN A SPECIFIC CASE
Defendant(s), PRO HAC VICE

INSTRUCTIONS FOR APPLICANTS

(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.

(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
(using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time of filing (using a credit
card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. LR. 5-4.4.2.

SECTION I - INFORMATION

Montalvo, Eric S.

Applicant's Name (Last Name, First Name & Middle Initial) check here if federal government attorney O
FEDERAL PRACTICE GROUP

Firm/Agency Name

1750 K Street, N.W. (202) 862-4360 (888) 899-6083

Suite 900 Telephone Number Fax Number

Street Address

Washington, D.C. 20006 emontalvo@fedpractice.com

City, State, Zip Code E-mail Address

I have been retained to represent the following parties:
RALPH HEREDIA |_| Plaintiff(s) |x| Defendant(s) |_] Other:
|_| Plaintiff(s) |_| Defendant(s) |_] Other:

Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

Name of Court Date of Admission Active Member in Good Standing? (if not, please explain)
State Bar of Pennsylvania 11/21/2002 Yes
State Bar of New Jersey 11/21/2002 Yes
State Bar of the District of Columbia 07/09/2010 Yes

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List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):

Case Number Title of Action Date of Application Granted / Denied?
5:20-cv-02332 Joseph Diaz Jr., et al. v. Ralph Heredia et al. 12/23/2020 Pending
5:20-cv-02618 Heredia Boxing Mgmt Inc, et alv. MIK Global etal. 12/23/2020 Pending

If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:

Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order

granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

SECTION II - CERTIFICATION

I declare under penalty of perjury that:

(1) All of the above information is true and correct.

(2) Iam nota resident of the State of California. ] am not regularly employed in, or engaged in
substantial business, professional, or other activities in the State of California.

(3) Iam not currently suspended from and have never been disbarred from practice in any court.

(4) lam familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
Criminal Procedure, and the Federal Rules of Evidence,

(5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
of this Court and maintains an office in the Central District of California for the practice of law, in

which the attorney is physically present on a regular basis to conduct business, as local counsel
pursuant to Local Rule 83-2.1,3.4.

Dated 12/23/2020 Eric $. Montalvo
TM (please type or print)
Applican t's Signature
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SECTION III - DESIGNATION OF LOCAL COUNSEL

Dhungana, Rajan O,
Designee’s Name (Last Name, First Name & Middle Initial)

FEDERAL PRACTICE GROUP

Firm/Agency Name

1750 K Street, N.W. (202) 862-4360 (888) 899-6083
Suite 900 Telephone Number Fax Number
Street Address rdhungana@fedpractice.com

Washington, D.C. 20006 Email Address

City, State, Zip Code CA: 297794

Designee’s California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.

Dated 12/23/2020 Rajan O.Dhungana__

Designee's Name ZS
we

Designee's Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY

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